            Case 1:20-cv-02791-JPB Document 18 Filed 07/21/20 Page 1 of 2




661 Forest Parkway                                                                 Jack R. Hancock
Suite E                                                                                 Partner
Forest Park, GA 30297-2256
                                                                                  Writer’s Direct Access
Tel: 404.366.1000                                                                     404.361.3223

www.fmglaw.com                                                                    JHancock@fmglaw.com




                                              July 21, 2020




Ms. Michelle Beck
Courtroom Deputy to Judge Eleanor L. Ross
United States District Court
Northern Division of Georgia, Atlanta Division
1788 Richard B. Russell Federal Building and US Courthouse
75 Ted Turner Drive SW
Atlanta, Georgia 30303-3309

        Re:         Rhonda Jones, et al. v. Victor Hill, In His Official Capacity as Sheriff of
                    Clayton County, Georgia, et al.,
                    Civil Action No. 1:20-cv-02791

Dear Ms. Beck:

      I hereby respectfully notify the Court and all opposing counsel pursuant to
Local Rule 83.1E (3) that I will be away from the practice of law as follows:

        Date of Leave                                           Purpose of the Leave
        July 27, 2020 – July 31, 2020                           Family Vacation

      Please accept this request that the court not schedule any appearances in
this matter during the aforementioned period of absence. The Court’s
consideration in this regard is appreciated.




                                CA | CT | FL | GA | KY | MA | NJ | NY | PA | RI
         Case 1:20-cv-02791-JPB Document 18 Filed 07/21/20 Page 2 of 2




July 21, 2020
Page 2
Ms. Michelle Beck

      If the Court has any questions, comments or concerns, please do not
hesitate to contact me.

      By the e-filing of this letter, I have notified counsel of my correspondence
with the court.
                                          Sincerely,
                                          FREEMAN MATHIS & GARY, LLP


                                           s/ Jack R. Hancock
                                           Jack R. Hancock
                                           Georgia Bar No. 322450


/tg



cc:    All Parties and Counsel of Record (via CM/ECF System)




                        CA | CT | FL | GA | KY | MA | NJ | NY | PA | RI
